Case 1:21-cv-00040 Document 1-40 Filed 01/08/21 Page 1 of 8




           Exhibit 40
     Case 1:21-cv-00040 Document 1-40 Filed 01/08/21 Page 2 of 8
         Fox News Sidney Powell Tells Lou Dobbs· 217 pm
                                                                   ·

·1

·2

·3

·4

·5· · FILE NAME:· BREAKING NEWS Sidney Powell Tells Lou Dobbs

·6· · Her Lawsuit In Georgia May Be Filed As Soon As Tomorrow

·7· · · · · · · · · · · · · ·(7:02 min)

·8

·9

10

11

12· · · · · · ·TRANSCRIPT OF VIDEO-RECORDED INTERVIEW

13· · · · · · · · · · · · ·SIDNEY POWELL

14· · · · · · · · · · · · · ·LOU DOBBS

15

16

17

18

19

20

21

22

23

24· Transcribed By:
· · TERRI NESTORE
25· CSR No. 5614, RPR, CRR


                           U.S. LEGAL SUPPORT
                              866-339-2608                          YVer1f
    Case 1:21-cv-00040 Document 1-40 Filed 01/08/21 Page 3 of 8
        Fox News Sidney Powell Tells Lou Dobbs· 217 pm
                                                                  2

·1· · · · · ·LOU DOBBS:· Joining us tonight by phone is Sidney
·2· Powell, defense attorney for General Michael Flynn, former
·3· federal prosecutor herself and a great American.
·4· · · · · ·Sidney, great to have you with us.· Let's start
·5· with the ownership of these voting firms.· I know you're
·6· focusing on that part of the electoral fraud that's been
·7· perpetrated this year in this election.
·8· · · · · ·Why don't we know who they are?
·9· · · · · ·SIDNEY POWELL:· Well, because they've used
10· multiple shell companies and now apparently private equity
11· groups to hide their actual ownership, but there's no
12· doubt that the software was created and used in Venezuela
13· to control the elections and make sure that Hugo Chavez
14· was always reelected as the dictator of Venezuela in what
15· appeared to be, quote, free and fair elections, end quote,
16· but they were manipulated by the software used in the
17· Dominion machines -- and used by other machines in the
18· United States, frankly, and we are just continuing to be
19· inundated by evidence of all the frauds here, and every
20· manner and means of fraud you could possibly think of.
21· · · · · ·LOU DOBBS:· Yeah.· I think many Americans have
22· given no thought to electoral fraud that would be
23· perpetrated through electronic voting; that is, these
24· machines, these electronic voting companies, including
25· Dominion, prominently Dominion, at least in the suspicions


                          U.S. LEGAL SUPPORT
                             866-339-2608                             YVer1f
    Case 1:21-cv-00040 Document 1-40 Filed 01/08/21 Page 4 of 8
        Fox News Sidney Powell Tells Lou Dobbs· 217 pm
                                                                  3

·1· of a lot of Americans.· We don't even know who has
·2· actually seen this software work.· We don't know where
·3· their servers are for sure.· We know a couple of them are
·4· overseas, and by "overseas" I mean in Germany and in
·5· Spain.
·6· · · · · ·It's just stunning that we have progressed this
·7· far with these companies and have permitted these entities
·8· that we don't know what their ownership is, we don't know
·9· what their possible bias is.· How could this be?
10· · · · · ·SIDNEY POWELL:· Because of all the corruption in
11· the country.· We need to find a way to follow the money
12· back as far even as when this was approved by the special
13· government committee called CFIUS, S-C -- C-F-I-U-S, which
14· are the heads of the respective agencies at the time who
15· approved Dominion coming into the country and running our
16· elections.
17· · · · · ·I mean Carolyn Maloney and Klobuchar and Warren
18· have been raising Cain about this issue for a long time,
19· but nobody's done anything about it.
20· · · · · ·LOU DOBBS:· As recently as last year.
21· · · · · ·SIDNEY POWELL:· Yeah.· And as best I can tell,
22· both parties have any number of people who are at fault,
23· in the fact this has continued to play any role in our
24· elections whatsoever.· And we have no idea of who all has
25· benefited from it.· Somebody needs to do a massive money


                          U.S. LEGAL SUPPORT
                             866-339-2608                             YVer1f
    Case 1:21-cv-00040 Document 1-40 Filed 01/08/21 Page 5 of 8
        Fox News Sidney Powell Tells Lou Dobbs· 217 pm
                                                                  4

·1· following investigation to find out who paid what to whom.
·2· · · · · ·LOU DOBBS:· Well, you have promised a -- a kraken
·3· will be unleashed.· We are -- we were expecting perhaps
·4· your suit would be filed yesterday or today.
·5· · · · · ·When shall we expect your lawsuit?
·6· · · · · ·SIDNEY POWELL:· Well, I think no later than
·7· tomorrow.· It's just going to be -- it's a massive
·8· document and it's going to have a lot of exhibits.
·9· · · · · ·LOU DOBBS:· And who will be the defendant or
10· defendants?
11· · · · · ·SIDNEY POWELL:· The defendants are going to be
12· folks in Georgia who are responsible for supposedly making
13· sure the elections in Georgia are done properly, and there
14· are just countless incidents of voter fraud and election
15· fraud, writ large, in Georgia.
16· · · · · ·LOU DOBBS:· In Georgia.· Are you planning any
17· other suits beyond Georgia?
18· · · · · ·SIDNEY POWELL:· Yes, we are.· We'll be rolling
19· them out as fast as we possibly can because it affected
20· the entire country, actually.· We even have an affidavit
21· now from a distant state, that's done by one of the
22· election officials in the state, telling us all the things
23· that person witnessed as being wrong there.
24· · · · · ·So it was nationwide.
25· · · · · ·LOU DOBBS:· Well, the number of affidavits is


                          U.S. LEGAL SUPPORT
                             866-339-2608                             YVer1f
    Case 1:21-cv-00040 Document 1-40 Filed 01/08/21 Page 6 of 8
        Fox News Sidney Powell Tells Lou Dobbs· 217 pm
                                                                  5

·1· voluminous now.· The eyewitnesses are considerable.
·2· · · · · ·Your thoughts now about what will be the impact
·3· and can it be adjudicated in such a way as to meet all of
·4· the deadlines that are forced upon you; that is,
·5· December 8th, December 14th?· Give us your sense of the
·6· timing and the urgency of getting this to resolution.
·7· · · · · ·SIDNEY POWELL:· Yes.· Well, obviously it couldn't
·8· be more urgent, but yes, the time deadlines should be able
·9· to be met and the evidence is so overwhelming, it's almost
10· as though they were so blatant about it, they expected us
11· to catch it and, you know, maybe it's a diversion from
12· something else that's going on, I don't know.
13· · · · · ·But it's also clear that there was foreign
14· intrusion into our voting systems, and that's going to be
15· the real -- where the rubber meets the road.
16· · · · · ·LOU DOBBS:· You know, a person that I hold in
17· high regard who's been at various points in this political
18· conflict over the last four years, said that the
19· difference this year in the political corruption and the
20· pervasive nature of it is that he believes the left
21· doesn't even care, the radical dems, the deep state don't
22· even care whether we find out what we know, and I thought
23· about it and, you know, I think he may be well -- that may
24· be well considered.· Your thoughts?
25· · · · · ·SIDNEY POWELL:· Yes, I agree.· I mean, that's


                          U.S. LEGAL SUPPORT
                             866-339-2608                             YVer1f
     Case 1:21-cv-00040 Document 1-40 Filed 01/08/21 Page 7 of 8
         Fox News Sidney Powell Tells Lou Dobbs· 217 pm
                                                                   6

·1· exactly how blatant it is, and all kinds of it are equally
·2· blatant.· I mean, people sitting on the floor and writing
·3· on the side of buses, filling out ballot after ballot.
·4· It's in your face, everywhere.· The statistical evidence
·5· is insurmountable.· The mathematical evidence is to a
·6· mathematical impossibilities.
·7· · · · · ·There's no way there was anything but widespread
·8· election fraud here.· We've got one witness that says in
·9· Arizona at least there were 35,000 votes added to every
10· democrat candidate just to start their voting off.· It's
11· like getting your $500 of Monopoly money to begin with
12· when you haven't done anything, and it was only for
13· democrats.
14· · · · · ·LOU DOBBS:· Do you think that we're going to see
15· the Trump presidency saved?
16· · · · · ·SIDNEY POWELL:· Yes, I definitely do.
17· · · · · ·There are -- there is no issue in my mind but
18· that he was elected in an absolute landslide nationwide.
19· · · · · ·LOU DOBBS:· Sidney Powell, thanks for being with
20· us.· We appreciate it.· Thanks so much.
21· · · · · ·(End of recording.)
22
23
24
25


                           U.S. LEGAL SUPPORT
                              866-339-2608                             YVer1f
     Case 1:21-cv-00040 Document 1-40 Filed 01/08/21 Page 8 of 8
         Fox News Sidney Powell Tells Lou Dobbs· 217 pm
                                                                   7

·1· · · · · · · · · · ·C E R T I F I C A T E

·2

·3

·4· · · · · ·I, TERRI NESTORE, Certified Shorthand Reporter/

·5· Transcriptionist, do hereby certify that I was authorized

·6· to transcribe the foregoing recorded proceeding, and that

·7· the transcript is a true and accurate transcription of my

·8· shorthand notes, to the best of my ability, taken while

·9· listening to the provided recording.

10

11· · · · I further certify that I am not of counsel or

12· attorney for either or any of the parties to said

13· proceedings, nor in any way interested in the events of

14· this cause, and that I am not related to any of the

15· parties thereto.

16

17

18· Dated this 17th day of December, 2020.

19

20

21· · · · · · · · · · · · · ________________________
· · · · · · · · · · · · · · TERRI NESTORE, CSR 5614, RPR, CRR
22

23

24

25


                           U.S. LEGAL SUPPORT
                              866-339-2608                             YVer1f
